Case: 7:22-cv-00007-REW-EBA Doc #: 118 Filed: 09/23/24 Page: 1 of 2 - Page ID#: 630




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                        PIKEVILLE

 CIVIL ACTION NO. 7:22-CV-00007-REW-EBA


 SABRINA ADKINS, et al.,                                                              PLAINTIFFS,

 V.                                           ORDER

 BEN FIELDS, et al.                                                                 DEFENDANTS.

                                        *** *** *** ***
        This matter is before the Court on the parties’ Joint Motion for Stay and Extension of

 Deadlines. [R. 117]. Previously, discovery in this matter was held in abeyance pending the

 resolution of Defendant Ben Fields’ state criminal case. [R. 66]. Since then, the stay was lifted and

 the undersigned entered a Scheduling Order on November 13, 2023. [R. 90]. The Court’s June 25,

 2024, Order then amended the pending pretrial deadlines and established, among other new

 deadlines, September 22, 2024, as the deadline to conduct fact discovery. [R. 106]. Now, the

 parties have requested that the matter be stayed and discovery be held in abeyance for 60 days to

 allow the parties time to investigate whether the events surrounding the shooting that took place

 on September 19, 2024, are related to this matter and to allow the parties sufficient time to review

 Plaintiff’s supplemental disclosures. [R. 117]. Accordingly,

        IT IS ORDERED that the parties’ Joint Motion for Stay and Extension of Deadlines [R.

 117] is GRANTED. All pending deadlines pursuant to the Court’s June 25, 2024, Order [R. 106]

 are VACATED and all proceedings and discovery for this matter shall be STAYED for 60 days

 from the entry of this Order.
Case: 7:22-cv-00007-REW-EBA Doc #: 118 Filed: 09/23/24 Page: 2 of 2 - Page ID#: 631




        IT IS FURTHER ORDERED that within 60 days of the entry of this Order, the parties

 shall submit a joint status report advising the Court on the status of this case and the parties’

 proposed amended scheduling deadlines.

        Signed September 23, 2024.
